         Case 1:22-cr-00116-CJN Document 23-1 Filed 06/30/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No.: 22-cr-116 (CJN)
               v.                             :
                                              :
DAVID JOSEPH GIETZEN,                         :
                                              :
Defendant.                                    :



                                              ORDER

        Upon consideration of the United States’ motion to disclose items protected by Federal

Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

        ORDERED, that the motion is GRANTED, and it is further

        ORDERED, that the United States may provide in discovery materials protected by

Federal Rule of Criminal Procedure 6(e), and it is further

        ORDERED, that the United States may provide in discovery sealed materials, pursuant to

the protective order governing discovery in this matter, and it is further

        ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.



Date:                                                 ___________________________________
                                                      HONORABLE CARL J. NICHOLS
                                                      United States District Judge
